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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

THE UNITED STATES OF AMERICA, and

THE STATES OF CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE, FLORIDA, GEORGIA,
HAWAII, ILLINOIS, INDIANA, IOWA, LOUISIANA,
MARYLAND, MASSACHUSETTS, MICHIGAN,                     Civil No. 1:22-cv-284
MINNESOTA, MONTANA, NEVADA, NEW
HAMPSHIRE, NEW JERSEY, NEW MEXICO, NEW                 Judge Michael R. Barrett
YORK, NORTH CAROLINA, OKLAHOMA, RHODE
ISLAND, TENNESSEE, TEXAS, VERMONT,
VIRGINIA, and WASHINGTON; THE DISTRICT OF
COLUMBIA; THE COUNTY OF ALLEGHENY; and THE
CITIES OF CHICAGO, NEW YORK, and
PHILADELPHIA,

ex rel. JOEL STEVENS,

            Plaintiffs,

            -v-

ATRICURE, INC., ST. HELENA HOSPITAL, and
ADVENTIST HEALTH,

            Defendants.




          RELATOR’S MEMORANDUM OF LAW IN OPPOSITION TO
         ATRICURE’S MOTION TO DISMISS THE FOURTH AMENDED
          COMPLAINT PURSUANT TO FED.R.CIV.P. 12(b)(6) AND 9(b)




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        Relator Joel Stevens (“Relator”) files this Opposition to Defendant AtriCure, Inc.’s

(“AtriCure” or the “Company”) August 17, 2022 Motion to Dismiss Relator’s Fourth Amended

Complaint (ECF No. 88; “Complaint” or “Compl.”). For the reasons set forth below, AtriCure’s

motion should be denied in its entirety.

        I.     INTRODUCTION

        The Fourth Amended Complaint properly sets forth causes of action as to all federal

reimbursement claims tainted by AtriCure’s unlawful kickback scheme. Relator alleges that

AtriCure engaged in an unlawful promotional scheme, in concert with Defendants Adventist,

Inc. and St. Helena Hospital, involving the offer and payment of illegal remuneration to

healthcare providers and institutions to induce purchases of AtriCure’s medical devices, in

violation of the federal Anti-Kickback Statute (the “AKS”) and the False Claims Act (“FCA”).

        The United States and Plaintiff States have previously prosecuted AtriCure for FCA and

AKS violations resembling those alleged by Relators’ here. On February 1, 2010, AtriCure

entered into a multimillion-dollar Settlement Agreement and a Corporate Integrity Agreement

with the United States to resolve allegations that AtriCure engaged in an illegal promotional

scheme which caused the submission of false claims for reimbursement for over 2,000 surgical

procedures performed using AtriCure products. Compl. ¶¶ 83-88. AtriCure has received notice of

Relator and original source Stevens’ allegations inasmuch as his Complaint documents a

continuation of the unlawful scheme for which the Company was previously (and successfully)

prosecuted by the Government.1 If the larger scale of AtriCure’s renewed kickback scheme




1
 The allegations resolved by the 2010 Settlement included that, between 2005 and 2008,
“AtriCure caused false claims to be submitted by knowingly inducing hospitals to purchase its
Ablation Devices by providing free or discounted marketing services and loaning or selling
generators and disposable equipment to hospitals at less than fair market value.” Compl. ¶85-86.
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requires Relator to provide more notice to the Company than its intimacy with the original

scheme resolved in 2010 already provides, Relator pleads more than enough information to

provide AtriCure with such notice, and to state cognizable claims against the Company under the

applicable legal standards in the Sixth Circuit.

        II.     ARGUMENT

        “In assessing a motion to dismiss under Rule 12(b)(6), [a] court construes the complaint

in the light most favorable to the plaintiff, accepts the plaintiff's factual allegations as true, and

determines whether the complaint ‘contain[s] sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.’” Heinrich v. Waiting Angels Adoption Servs., Inc.,

668 F.3d 393, 403 (6th Cir. 2012) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)) (second

alteration in original). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. The factual allegations of a pleading “must be

enough to raise a right to relief above the speculative level.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007).

        The False Claims Act, 31 U.S.C. § 3729 et seq. (“FCA”), “is an anti-fraud statute that

prohibits the knowing submission of false or fraudulent claims to the federal government.”

United States ex rel. Bledsoe v. Community Health Sys., Inc., 501 F.3d 493, 502-503 (6th Cir.

2007). The FCA creates civil liability for any person who “(A) knowingly presents, or causes to

be presented, a false or fraudulent claim for payment or approval;” “(B) knowingly makes, uses,

or causes to be made or used, a false record or statement material to a false or fraudulent claim;”

or “(C) conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or (G).” 31

U.S.C. § 3729(a)(1). As this Court has explained, “[t]o be eligible for payment under the



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Medicare program, providers and suppliers must certify that they understand that payments of

claims are conditioned on the claims and the underlying transactions complying with applicable

laws, including the AKS.” United States ex rel. Hallman v. Millennium Radiology, Inc., No.

1:11-cv-825, 2014 U.S. Dist. LEXIS 138549, 2014 WL 4908275, at *9 (S.D. Ohio Sept. 30,

2014) (citations omitted).

       “To prove a violation of the AKS, Relator must show: (1) remuneration offered or paid;

(2) in order to induce the referral of government healthcare business; (3) done ‘knowingly and

willfully.’ 42 U.S.C. § 1320a—7b(b)(2)(B).” Millennium Radiology, 2014 U.S. Dist. LEXIS

138549, at *10. As a result, many FCA cases turn on whether a Relator can show that what was

offered or paid by Defendant(s) was “remuneration” within the meaning of the statute, and

whether the remuneration was paid with an “intent to induce.”

               A. Relator’s Complaint States a Claim for Relief Under the FCA

                         1. Relator sufficiently pleads that AtriCure’s Kickback Scheme
                            Results in Illegal Remuneration to AtriCure’s Customers

As this Court has previously explained,

       This Court has interpreted “remuneration” broadly as meaning “anything of value in any
       form whatsoever.” United States v. The Health Alliance of Greater Cincinnati, 1:03-CV-
       00167, 2008 U.S. Dist. LEXIS 102411, 2008 WL 5282139,*7 (S.D. Ohio Dec. 18, 2008).
       This Court has explained that “[t]he Anti-Kickback Statute uses the term ‘any
       remuneration,’ which suggests an expansive reading of the form of any kickback directly
       or indirectly, as opposed to a narrow reading.” Id. (citing 42 U.S.C. § 1320a-7b (b)(1 &
       2)(A)).

Millennium Radiology, 2014 U.S. Dist. LEXIS 138549, at *10-11. One of the principal reasons

for this broad definition is the ingenuity of bad actors in finding ways to get around any narrower

prohibition: as this Court has also noted, “the Anti-Kickback statute was amended to add the

term ‘remuneration’ when investigations showed kickbacks were taking the form of sham rentals

for office space, rebates equal to the percentage of referral business, outright gifts of cars, TV’s,


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and” – of particular relevance here – “prepaid vacations.” United States ex. rel. Fry v. Health

Alliance of Greater Cincinnati, No. 1:03-CV-00167, 2008 U.S. Dist. LEXIS 102411, *22 (S.D.

Ohio Dec. 18, 2008).

       AtriCure contends that that the Complaint “describes ordinary—and essential—training,

research, and educational initiatives.” Memorandum in Support of [Defendant] AtriCure’s

Motion To Dismiss the Fourth Amended Complaint (“AtriCure Mem.”), ECF No. 91-1 at 23. But

if offers no reason that all-expenses paid trips to Napa Valley, in the heart of California’s wine

country – including airfare, meals, lodging, ground transportation, and a trip to the Silverado

vineyards there – should not be considered “[some]thing of value in [some] form whatsoever.”

If visiting Napa and its wineries had not value, the tourism industry and winery tours in Napa

would not be as they are.

       But AtriCure did offer and provide just such a trip to Dr. Sanjay Tripathi – twice, on

December 5, 2014, and again, less than six months later, on May 27-28, 2015, see Compl.

¶¶ 238, 242-43 – including staying “in Napa at what AtriCure employee Kent Richards described

as ‘a very nice boutique hotel,’ viz. the Andaz Napa at 1450 First Street in Napa, California” on

at least the latter occasion, which also included an excursion to Silverado Vineyards, Compl.

¶¶ 242-43, which clearly has no educational purpose or value relevant to cardiology. Likewise,

AtriCure provided hundreds of dollars in food, beverage, and lodging to Dr. Ganesh Kumpati

over the course of 2014 and into 2015. See Compl. ¶¶ 248, 252.

       And after the junkets just described, both Dr. Tripathi and Dr. Kumpati were able to

repay those inducements by using tens of thousands of dollars’ worth of AtriCure’s products in

Medicare-reimbursed procedures – and, in fact, did so, on at least December 18, 2014 (Compl.




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¶¶ 239-41); May 22, 2015 (Compl. ¶¶ 249-50); August 26, 2015 (Compl. ¶ 245); October 6,

2015 (Compl. ¶ 246); and October 27, 2015 (Compl. ¶ 254).

       Regardless of any so-called educational or product support contexts, AtriCure’s

suggestion that food and drink, and all-expenses paid trips to Napa wineries, are “[no]thing of

value” belies common sense and is an argument better suited for summary judgment, not a

motion to dismiss – and is inappropriate even then, since a reasonable juror could easily

conclude that these inducements, in fact, have value.

       The Complaint also details widespread additional compensation to those capable of

giving business to AtriCure – and only to those capable of giving it business – including

thousands of dollars in sham “consulting fees” paid to doctors with the ability to steer business to

AtriCure (Compl. ¶¶ 90-108), various promotional efforts given to doctors for free (Compl.

¶¶ 109-32), and the services of a billing consultant and her firm, Kathryn Barry & Associates,

LLC (“KBA”) – also free, but only to doctors who use AtriCure products. (Compl. ¶¶ 133-45.)

As with the free trips to Napa, these inducements have value to the doctors who used them; they

are not “[no]thing of value.” And as with the food, travel, and hotel inducements, AtriCure’s

argument is entirely premature – and should fail at summary judgment, since a reasonable jury

could decide that these inducements have value.

       Indeed, this Court has already held that even the mere opportunity to earn payment can

be an inducement, because every business – even a small medical practice – needs business. “For

example, this Court found that scheduling time for doctors to work at a hospital’s ‘heart station,’

whereby they are provided with a ‘stream of patients,’ was something of value since ‘[g]iving a

person an opportunity to earn money may well be an inducement.’” Millennium Radiology, 2014




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U.S. Dist. LEXIS 138549 at *11 (quoting Health Alliance of Greater Cincinnati, 2008 U.S. Dist.

LEXIS 102411 at *21).

       Likewise, here, the “opportunity to earn money” as a paid speaker “may well be an

inducement,” id., as well as free advertising is – an issue also discussed at length in Millennium

Radiology, and likewise resolved in Relator’s favor. Id. at *10-14.

       Even the issue of free practice support has been addressed by this Court, which found that

these perquisites could have been offered as inducements, and thus, dismissal prior to discovery

was inappropriate: “In another case, this Court found that ‘not having to do the work of the

professional component of the test and not having to set up and maintain the infrastructure in

order to do the test and, instead, merely reviewing work that is already complete and signing

one’s name is,” as every partner at a law firm knows, “certainly something of value.’” Id. at *11

(quoting United States ex rel. Daugherty v. Bostwick Labs., 1:08-CV-00354, 2012 U.S. Dist.

LEXIS 178641, 2012 WL 6593804, at *11 (S.D. Ohio Dec. 18, 2012).

       The same is true of AtriCure’s “grants” (i.e., payments, Compl. ¶¶ 149-68) and other to

inducements to institutions, including a $50,000 cardiac mapping machine (Compl. ¶¶ 169-92,

noting the dates and value of tens of thousands of dollars’ worth of AtriCure implants and other

products being given to various institutions and individuals, including Porter Adventist and Dr.

Tripathi) – all of which aid in “set[ting] up and maintain[ing] the infrastructure” of these

institutions. Millennium Radiology, 2014 U.S. Dist. LEXIS 138549 at *11. And as with

payments and other perks given to individual doctors, so these same payments and other perks

given to institutions are forms of inducement.

       Even apart from the obvious independent value of fungible items such as computer

laptops (Comp. ¶ 175), the independent value of AtriCure’s capital equipment used “in



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conjunction with” AtriCure’s disposable products is evidenced by the company’s efforts to

conceal its gifting of such equipment by disguising it as legitimate “Loaner” agreements (Comp.

¶ 172-86). Had AtriCure’s customers’ loan commitments not been fictitious, the customers

“would otherwise have had to cover the costs….thus lowering their profits per surgery.” United

States ex rel. Wood v. Allergan, Inc., 246 F. Supp. 3d 772, 807-08 (S.D.N.Y. 2017)

(citing Ameritox, Ltd. v. Millennium Labs., Inc., 20 F. Supp. 3d 1348, 1356 (M.D. Fla. 2014)),

rev’d on other grounds, United States ex rel. Wood v. Allergan, Inc., 899 F.3d 163 (2d Cir.

2018). The discount safe harbor applies neither to loans not subject to any financial commitment

by the borrower nor to remuneration in the form of “no-charge” disposable equipment (Compl.

¶¶ 187-92) inasmuch as the underlying discounts are not based on an arms-length, commercially

reasonable transactions. See OIG Advisory Opinion No. 99-2 (Feb. 26, 1999).2

        For all of these items and payments, there may be additional context that Defendants

wish to provide, but none of that “context” means that Relator has failed to state a claim for

inducing the submission of claims to Government healthcare programs – and, when that time

comes, that context should be submitted to a jury, because it is all issues of fact, such that a

reasonable jury could also determine that these various payments and other perks are, in fact,

inducements.

        As this Court has correctly observed, “[i]mportantly, under the anti-kickback statute,

neither a legitimate business purpose for the arrangement, nor a fair market value payment, will

legitimize a payment if there is also an illegal purpose (i.e., inducing Federal health care program

business).” Millennium Radiology, 2014 U.S. Dist. LEXIS 138549 at *11 (quoting OIG




2
 https://oig.hhs.gov/documents/advisory-opinions/396/AO-99-02.html. (last accessed October 5,
2022).
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Supplemental Compliance Program Guidance for Hospitals, 70 Fed.Reg. 4858, 4864 (Jan. 31,

2005)).

                           2. Relator has Pleaded that at Least One “Purpose” of its
                              Remuneration was to Induce Referrals

          AtriCure cavalierly describes these inducements as “ordinary – and essential – training,

research, and educational initiatives,” AtriCure Mem. at 23, but what the Complaint actually

alleges is that “AtriCure’s illegal inducements included cash payments made to surgeons and

EPs to utilize AtriCure devices and to appear on AtriCure’s behalf at promotional events for the

ostensible purpose of providing or receiving educational information” Compl. ¶ 95 (emphasis

supplied). This Court has rejected the argument that a relator “must plead facts negating

plausible alternative motives” for a discounting arrangement in order to plead an intent to induce

referrals. Millennium Radiology, 2014 U.S. District LEXIS 138549 at *18. Relator need only

plead that one purpose of the remuneration was to induce referrals:

          [T]he “Third, Fifth, Ninth, [Seventh], and Tenth Circuits” are in accord that “[n]othing in
          the Medicare fraud statute implies that only the primary motivation of remuneration is to
          be considered;” rather, “if part of the payment compensated past referrals or induced
          future referrals, that portion of the payment violates” the statute.

United States v. Se. Eye Specialists, PLLC, 570 F. Supp. 3d 561, 577 (M.D. Tenn. 2021)

(emphasis supplied) (quoting United States v. Borrasi, 639 F.3d 774, 782 (7th Cir. 2011)); see

also OIG Supplemental Compliance Program Guidance for Hospitals, 70 Fed.Reg. 4858, 4864

(Jan. 31, 2005) (“Importantly, under the anti-kickback statute, neither a legitimate business

purpose for the arrangement, nor a fair market value payment, will legitimize a payment if there

is also an illegal purpose (i.e., inducing Federal health care program business).”).

          Further, the Complaint alleges particularized details, including that “Dr. Tripathi received

at least $1,877 in kickbacks from Defendant AtriCure,” including “$825.46 worth of food, travel,



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and lodging . . . All of these payments were kickbacks in violation of the AKS.” Compl. ¶ 238

(emphasis supplied). The Complaint goes on to allege that “[t]hese kickbacks had the desired

effect,” Compl. ¶ 239, of inducing Dr. Tripathi to use AtriCure products in a procedure

performed on a Medicare patient on December 18, 2014, id., and names the parts used, their

prices, and Lot/Serial Number, id. at ¶ 240, further alleging that their prices were “multiples

more than the cost of AtriCure’s kickbacks to Dr. Tripathi that year, and thus an extremely

positive return on AtriCure’s investment in its kickbacks paid to Dr. Tripathi.” Id. at ¶ 241.

       After providing additional details and examples of further kickbacks and surgeries with

Dr. Tripathi, the Complaint goes on to allege that “Dr. Kumpati likewise received a number of

kickbacks from AtriCure,” and lists a number of example inducements, including $921 in travel

and lodging on August 12, 2014. Id. at ¶ 248. The Complaint goes on to allege, “these

inducements were effective,” id. at ¶ 249 (emphasis supplied), and describes a procedure that Dr.

Kumpati performed on a Medicare beneficiary, including the parts used, their prices, and

Lot/Serial Number. Id. at ¶ 249-50. The Complaint then alleges that “[a]ll of these AtriCure

products were billed to CMS for a total of at least $19,790 – multiples more than the cost of

AtriCure’s kickbacks to Dr. Kumpati the preceding year, and thus an extremely positive Return

on Investment for AtriCure.” Id. at ¶ 251.

       As with Dr. Tripathi, the Complaint then goes on to allege the details of additional

inducements provided by AtriCure and another surgery performed by Dr. Kumpati that used

AtriCure parts and resulted in claims being submitted to the Department of Veterans Affairs.

       The foregoing, and the many other allegations of knowing inducement throughout the

Complaint, are a more-than-sufficient basis upon which to find that the Relator has adequately

alleged that AtriCure knowingly caused the submission of false claims, in violation of the AKS



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and the FCA. But in this case, there is the additional allegation that AtriCure entered into a

Corporate Integrity Agreement (“CIA”) in which it specifically promised to obey the AKS.

Compl. ¶¶83-88. Thus, any violation of the AKS is, per se, intentional, or at the very least, an

“aggravated form of gross negligence” or “reckless disregard” of AtriCure’s obligations to know

and follow the law. The Complaint alleges that the CIA’s covered conduct specifically included

kickback allegations: “that AtriCure caused false claims to be submitted by knowingly inducing

hospitals to purchase its Ablation Devices by providing free or discounted marketing services

and loaning or selling generators and disposable equipment to hospitals at less than fair market

value.” Compl. ¶ 85 (citing 2010 Settlement Agreement, Section II.C.(3)). Further, the CIA

required AtriCure:

          to develop “appropriate ways to conduct Promotional and Product Services Related
          Functions in compliance” with “all applicable FDA requirements, including FDA
          regulatory approval requirements,” as well as with “all applicable Federal healthcare
          program requirements, including, but not limited to, the Federal anti-kickback statute . .
          . and the False Claims Act.”

Compl. ¶ 86 (citing CIA, Section III.B.2.b-c) (emphasis supplied).

          For AtriCure to suggest that the inducements and kickbacks that it offered and paid, in

violation of “the Federal anti-kickback statue . . . and the False Claims Act,” were somehow

inadvertent or unknowing – when AtriCure had recently promised the Government that it

would not violate exactly those two statutes – is disingenuous, at best; and, in any case, Relator

has sufficiently alleged that AtriCure’s conduct more than met the “reckless disregard” standard

necessary to state a claim under those statutes. Accordingly, Defendant’s motion should be

denied.

                           3. Relator Adequately Pleads that AtriCure Acted with the
                              Requisite Scienter




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       Relator must also prove that the Defendants “knowingly” violated the FCA when

engaging in its illegal kickback scheme. This Court has held that while “‘a violation of the

[AKS] may be shown without establishing that the defendant(s) acted ‘with knowledge of

illegality,’” Millennium Radiology, U.S. Dist. LEXIS 48214 at *20 (quoting McDonnell v.

Cardiothoracic & Vascular Surgical Associates, Inc., No. C2-03-79, 2004 U.S. Dist. LEXIS

29436, 2004 WL 3733402, *8 (S.D. Ohio, July 28, 2004), itself citing United States v. Neufeld,

908 F. Supp. 491, 497 (S.D. Ohio 1995)), “there must be an allegation that the defendant acted

with the ‘purpose to commit a wrongful act.’” Millennium Radiology, U.S. Dist. LEXIS 48214

at *20 (quoting McDonnell, 2004 U.S. Dist. LEXIS 29436, [WL] at *8).

       The Sixth Circuit has since further expounded upon those requirements, as follows:

       “[A]n aggravated form of gross negligence (i.e., reckless disregard) will
       satisfy the scienter requirement for an FCA violation.” United States ex
       rel. Wall v. Circle C Constr., L.L.C., 697 F.3d 345, 356 (6th Cir. 2012)
       (alteration in original) (quoting United States ex rel. Burlbaw v. Oren-
       duff, 548 F.3d 931, 945 n.12 (10th Cir. 2008)). Congress added the
       “reckless disregard” prong to the definition of knowledge in the False
       Claims Act “to target that defendant who has ‘buried his head in the sand’
       and failed to make some inquiry into the claim’s validity.” United States
       ex rel. Williams v. Renal Care Grp., Inc., 696 F.3d 518, 530 (6th Cir. 2012)
       (quoting S. Rep. 99-345, at 21 (1986), reprinted in 1986 U.S.C.C.A.N. 5266,
       5286). This inquiry must be “reasonable and prudent under the circum-
       stances.” Id. (quoting S. Rep. 99-345, at 21 (1986), reprinted in 1986
       U.S.C.C.A.N. at 5286)

United States ex rel. Lynch v. Univ. of Cincinnati Med. Ctr., LLC , No. 1:18-cv-587,, 2020 U.S.

Dist. LEXIS 48214 at *96-97 (quoting United States ex rel. Prather v. Brookdale Senior Living

Cmtys., Inc., 892 F.3d 822, 837 (6th Cir. 2018)).

       Here, there can be no doubt that Relator’s Complaint meets this standard. For one thing,

“at the motion-to-dismiss stage, a plaintiff need only allege the scienter element generally.”

Lynch, 2020 U.S. Dist. LEXIS 48214 at *96 (quoting Prather, 892 F.3d at 837, itself citing Fed.



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R. Civ. P. 9(b)). And Relator has more than adequately done so; his Complaint is replete with

language indicating AtriCure’s intent regarding its kickback programs. There are far too many

instances, found throughout the Complaint, to list in toto here, but a few examples illustrate the

point amply: “AtriCure’s business model focuses largely on offering surgeons lucrative

agreements to induce them to use AtriCure products when performing AFib procedures,”

Compl. ¶ 90 (emphasis supplied), including “us[ing] these agreements as vehicles to pay

surgeons illegal kickbacks in the form of dinners, free attendance at conferences, free products,

and renumeration for performing certain promotional-related activities,” id. at ¶ 93. The

Complaint also includes a table enumerating surgeons and EPs who “each promoted and/or

performed procedures using AtriCure products on behalf of the company and each received a

total of at least $1,500 in their individual capacities from AtriCure between 2013 and 2018.” Id.

at ¶ 94.3

               B. The Complaint Satisfies Rule 9(b)’s Particularity Requirement


         Because both the FCA and AKS sound in fraud, any complaint must comply with the

particularity requirements of Federal Rule of Civil Procedure (“Rule”) 9(b), discussed at length,

infra. As this Court has previously held, while alleging facts sufficient to infer the presentment

of at least one claim is necessary to prosecute a case brought under the False Claims Act

(whether qui tam or brought directly by the Government itself), and “[w]hile establishing

‘personal knowledge’ is one way to create an inference that a claim was submitted, it is not the

only means.” Lynch, 2020 U.S. Dist. LEXIS 48214 at *91 (quoting Millennium Radiology, 2014



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  AtriCure’s recitation of the current status of the Food and Drug Administration’s approvals of
its devices for use in certain surgeries (AtriCure Mem. at 25-28) provides it no quarter. The
AKS’s reach extends beyond any off-label billing to encompass all claims tainted by
Defendants’ alleged kickbacks. Compl. ¶¶ 32-40.
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U.S. Dist. LEXIS 138549 at *24) (emphasis supplied). “If a relator alleges a widespread fraud,

then ‘a single adequately pled claim of this nature would allow relators to satisfy Rule 9(b)’s

pleading requirement and proceed to discovery on the entire scheme.’” United States ex rel.

USN4U, LLC v. Wolf Creek Fed. Servs., 34 F.4th 507, 514 (6th Cir. May 16, 2022) (citing

United States ex rel. Ibanez v. Bristol-Myers Squibb Co., 874 F.3d 905, 915 (6th Cir. 2017)).

       As this court explained in Lynch, pleading additional factual details can suffice to meet

the Bledsoe standard:

       Relator has alleged facts strongly suggesting that “actual false claims [] in
       all likelihood exist” and have been presented to the Government for pay-
       ment by [Defendant]. See Bledsoe II, 501 F.3d at 504 n.12. Relator has
       identified specific TAVR procedures performed at [medical center] during
       the relevant time period that were billed to the Government.

Lynch, 2020 U.S. Dist. LEXIS 48214, *88 (first alteration in original) (quoting Bledsoe, 501

F.3d at 510-11).

       Nor is the Lynch court alone in its interpretation of the commands of the Sixth Circuit

with respect to Fed. R. Civ. P. (“Rule”) 9(b). For example, in Millennium Radiology this court

upheld a complaint, not only as to a Defendant where there were “aging reports show[ing] that

[Defendant] submitted claims for payment to the government, the amounts submitted and the

times submitted,” but also as to a second Defendant, not covered by the log, because the vast

majority of this Defendant’s patients were treated at the first facility and because – as here –

“[Relator] has identified . . . patients by their initials who underwent surgery on certain dates.”

Millennium Radiology, U.S. Dist. LEXIS 48214 at *25.

       As in Lynch, Relator here has made similarly detailed allegations, including identifying

specific cardiac VATS/MAZE and other procedures, to “create a strong inference that

[Defendant] presented or caused to be presented false claims for payment to the Government and



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satisfy Relator’s burden to plead his fraud claims against [Defendant] with particularity,” Lynch,

2020 U.S. Dist. LEXIS 48214, at *89. In Lynch, the Relator “obtained a TAVR case log” that

included:

       the payment status for Drs. Shreenivas and Arif’s TAVR patients by
       patient initials, medical record number, CPT Code (specifying a TAVR
       procedure), the date the TAVR procedure was performed, the “date posted,”
       the specific invoice number, and the identity of the governmental insurance carrier
       (Medicare, VA, or CareSource).

Id. at *89-90. Here, Relator alleges similar details about the claims, including providing the date

the procedure was performed (Compl. ¶¶ 239, 245-46, 249), the type of procedure

(VATS/MAZE, Compl. ¶¶ 245-46), the hospital where it was performed (Compl. ¶¶ 245 (Porter

Adventist), 246 (same), 249 (University of Utah Health), the identity of the governmental

insurance carrier (Medicare, Compl. ¶¶ 245-46), and identifying information for the patient: date

of birth, rather than initials. (Compl. ¶¶ 239, 245-46, 249). In addition, as discussed supra,

Relator provides specific batch/lot numbers and/or prices of the materials billed for. (Compl.

¶¶ 240, 246, 250, 254).

       Likewise, the decision in Millennium Radiology follows a similar analysis and compels a

similar result. The Millennium Radiology Relator, Dr. Hallman, identified nineteen patients.

While this is more than in the case at bar, so much of the record as is not under seal in that case

suggests Dr. Hallman provided significantly less detail as to each patient, identifying them only

by their initials and the date the surgery was performed. Millennium Radiology, 2014 U.S. Dist.

LEXIS 138549 at *25. Here, while Relator has not provided initials, he has provided exact

birthdates, procedure types, and specific parts either pre-authorized (¶ 254) or actually used (¶¶

240, 250), including, for the latter, specific part/lot numbers (id.), and for all example surgeries,

the prices AtriCure charged for those parts. ¶¶ 240, 250, 254.



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         Further, Millennium Radiology was decided in 2014, and the Court was thus without the

benefit of the Sixth Circuit’s decision in United States ex rel. Prather v. Brookdale Senior Living

Cmtys, Inc., 838 F. 3d 750 (6th Cir. 2016), which-affirmed that

         [Relator’s] allegations of personal knowledge of a detailed fraudulent
         scheme, including identification—based on her experience with billing-
         related matters—of specific false claims within that scheme and facts
         supporting a strong inference that those specific claims were submitted
         to the government for payment cannot be said to be improper conjecture.

Id. at 771. “Indeed,” the Prather court went on to note, “it could be said to be conjecture ‘only if

we were willing to attribute to [the defendants] a highly unusual business model.’” Id. (quoting

United States ex rel. Clausen v. Labs. Corp. of Am., 290 F.3d 1301, 1317 (11th Cir. 2002)

(Barkett, J., dissenting)). While the Prather court was referring to a highly unusual model4 that is

distinct from the present case, here, the same logic applies: in order for claims tainted by

kickbacks for the identified AtriCure products not to have been submitted, the hospitals where

the surgeries were performed, and the doctors performing them, would have had to have

followed an equally “highly unusual model,” one in which they did not seek reimbursement for

their services.

         Furthermore, it must be noted that in Prather, the claims as to which Ms. Prather had

personal knowledge had not been submitted at the time that she worked on them, but were

nevertheless considered as reliable indicia that claims had, in fact, later been submitted.

Similarly, the various details that Relator has pled here are reliable indicia that claims were

submitted for payment, including for the heart surgery at the George E. Wahlen Department of




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 Viz., one “in which [Relator] and others were hired for a year-long project reviewing final
Medicare claims in an attempt to avoid the recoupment of anticipated payments that were
previously obtained, when in fact the defendants had never actually requested or received those
anticipated payments.” Prather, 838 F.3d at 771-72.
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Veterans Affairs Medical Center at 500 Foothill Boulevard, Salt Lake City, Utah, scheduled for

October 27, 2015, and described in ¶ 254. There is nothing to suggest that this surgery was not,

in fact performed on the scheduled date, but even if it had been delayed, it is not mere

“conjecture” to conclude that this non-elective heart surgery was, in fact, performed, and a claim

submitted to Tricare, since it is standard practice for claims to be submitted for all surgeries

performed at Veterans’ Administration (“VA”) facilities. Additionally, it is reasonable to

conclude that AtriCure’s free reimbursement consultant Ms. Barry educated Dr. Kumpati on

August 18, 2015 on how to ensure that the expensive surgery scheduled on September 29, 2015

(Compl. ¶ 133-45; 253-54) would in fact be reimbursed by the VA program, without which

assurance it is unlikely that Dr. Kumpati would have even scheduled the surgery. Under the

Sixth Circuit’s most recent precedent concerning the Rule 9(b) standard in FCA cases

(conspicuously not cited by AtriCure), even if this Court could “reasonably draw[] such an

inference in either direction,” the inference should not be drawn in the Defendants’ favor.”

USN4U, LLC, 34 F.4th at 514 n.2 (citing Bickerstaff v. Lucarelli, 830 F.3d 388, 396 (6th Cir.

2016)).

          Further still, here, Relator provides additional factual details that support the strong

inference “that ‘actual false claims [] in all likelihood exist’ and have been presented to the

Government for payment . . . .” Lynch, 2020 U.S. Dist. LEXIS 48214, at *89. For example, ¶

211 of the Complaint lays out an AtriCure spreadsheet that “explained to hospitals and

physicians the manner in which the hybrid procedure would be reimbursed by Medicare and was

intended to promote it over alternative treatment.” Compl. ¶ 211 (emphasis supplied). Like the

e-mail chain regarding “Dr. Shreenivas’s failure to complete the OP note for billing purposes” in

Lynch, here, AtriCure’s guide to Medicare billing “adds further support for the conclusion that



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actual false claims in all likelihood were submitted to the Government for payment.” Lynch,

2020 U.S. Dist. LEXIS 48214, at *92. This document could have no other purpose than to help

AtriCure in explaining to its customers how to bill Medicare – after all, AtriCure does not submit

claims itself, so the only plausible explanation for AtriCure having taken the time and expense to

create this spreadsheet is for the information therein to be used by its customers, to help them

submit claims to Medicare for the VATS/MAZE procedures they performed.

        Finally, “AtriCure paid for a third-party consultant to provide detailed billing

assistance, gratis to Dr. Kumpati, to help him get paid for procedures where he used AtriCure

products. The third-party consultant’s free services included assistance with the reimbursement

of Medicare claims.” Compl. ¶ 253. The free services for AtriCure’s physician customers of this

billing consultant, Ms. Barry, are discussed at length in the Complaint under the heading

“Reimbursement Services.” Id. ¶¶ 133-45. Consistent with AtriCure’s interpretations of Prather

and United States ex rel. Hirt v. Walgreen Co., 846 F.3d 870, 881 (6th Cir. 2017), Ms. Barry’s

services provided for free on behalf of AtriCure were “to review Medicare [and other insurance]

claims documentation for the sole purpose of obtaining reimbursement.” AtriCure Mem. at 16.

               C. Relators’ Conspiracy Claims and Claims on Behalf of Plaintiff States

        Relators’ arguments in support of their claims pursuant to 32 U.S.C. §3729(a)(1)(C) and

on behalf of the Plaintiff States are set forth in Relator’s Memorandum of Law in Opposition to

Defendant St. Helena’s and Defendant Adventist Health’s Motion to Dismiss the Fourth

Amended Complaint, filed contemporaneously herewith and incorporated by reference as if set

forth in its entirety herein. Relator believes that repeating this discussion here would be

duplicative and unnecessarily require judicial resources in reviewing the discussion a second

time.



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       III.   CONCLUSION

       For the foregoing reasons, AtriCure’s motion to dismiss should be denied in its entirety.

In the alternative, Relator should be granted leave to amend a Fifth Amended Complaint, as none

of Relator’s prior complaints have been tested by a motion to dismiss.


 Dated: October 5, 2022                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on October 5, 2022, the foregoing was filed electronically via the Court’s

authorized electronic filing system. Notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system.



                                                       /s/ Kelly Mulloy Myers




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